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                                          6 Attorneys for Debtor,
                                            GARDENS REGIONAL HOSPITAL
                                          7 AND MEDICAL CENTER, INC., dba
                                            GARDENS REGIONAL HOSPITAL
                                          8 AND MEDICAL CENTER

                                          9                          UNITED STATES BANKRUPTCY COURT
                                         10                           CENTRAL DISTRICT OF CALIFORNIA
601 SOUTH FIGUEROA STREET, SUITE 2500
 LOS ANGELES, CALIFORNIA 90017-5704




                                                                           LOS ANGELES DIVISION
                                         11
         DENTONS US LLP




                                         12
           (213) 623-9300




                                         13 In re:                                           Case No. 2:16-bk-17463-ER

                                         14 GARDENS REGIONAL HOSPITAL AND                    Chapter 11
                                            MEDICAL CENTER, INC., dba GARDENS
                                         15 REGIONAL HOSPITAL AND MEDICAL                    (Voluntary Petition Filed: June 6, 2016)
                                            CENTER,
                                         16                                                  ORDER ON DEBTOR’S EMERGENCY
                                                           Debtor.                           MOTION TO AUTHORIZE CLOSURE OF
                                         17                                                  HOSPITAL; DECLARATION OF ERIC
                                                                                             WEISSMAN
                                         18
                                                                                             Date:     January ___, 2017 [To Be Set]
                                         19                                                  Time:     10:00 a.m.
                                                                                             Place:    Courtroom 1568
                                         20                                                            Edward R. Roybal Federal Building
                                                                                                       255 East Temple Street
                                         21                                                            Los Angeles, California 90012
                                                                                             Judge:    Hon. Ernest M. Robles
                                         22
                                                                                             [Local Bankruptcy Rule 9075-1(a)]
                                         23

                                         24 IN THE UNITED STATES BANKRUPTCY COURT FOR THE CENTRAL DISTRICT

                                         25 OF CALIFORNIA, LOS ANGELES, THIS _____ DAY OF JANUARY, 2017:

                                         26            Having read Debtor’s Emergency Motion To Authorize Closure Of Hospital (the

                                         27 “Emergency Motion”) and the Declaration Of Eric Weissman in support of the Motion, and in

                                         28 accordance with the record in these proceedings, and good cause appearing therefor,
                                                                                           -1-
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                                          1            IT IS HEREBY ORDERED that a hearing shall be held on the Emergency Motion at

                                          2 _______ a.m. on January ___, 2017, in Courtroom 1568, United States Bankruptcy Court,

                                          3 Edward R. Roybal Federal Building, 255 East Temple Street, Los Angeles, CA 90012.

                                          4            IT IS FURTHER ORDERED that any party opposing or objecting to the Emergency

                                          5 Motion can do so at any time up to and including the hearing on the Emergency Motion.

                                          6            IT IS FURTHER ORDERED that Debtor’s counsel shall give telephonic Notice to the

                                          7 following parties on or before 5:00 p.m. on January ___, 2017: (1) the Office of the United States

                                          8 Trustee; (2) Counsel for the Creditors Committee; (3) the Attorney General for the State of

                                          9 California, (4) the United States Attorney; (5) the five Prepetition Secured Creditors; (6) counsel

                                         10 for Strategic, (7) counsel for Promise Healthcare of East Los Angeles, L.P.; (8) Summit
601 SOUTH FIGUEROA STREET, SUITE 2500
 LOS ANGELES, CALIFORNIA 90017-5704




                                         11 Healthcare; (9) Harbor Gardens Capital One, LLC; and, (10) Vista/Silverpoint Capital. All other
         DENTONS US LLP




                                         12 parties shall be given notice of the hearing by NEF or overnight delivery service. Counsel shall
           (213) 623-9300




                                         13 file a proof of service no later 5:00 p.m. on January ___, 2017, on notice of the hearing.

                                         14                                                     ###

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                                          1                                        SERVICE LIST
                                          2   In re: Gardens Regional Hospital and Medical Center, Inc. dba Gardens Regional Hospital and
                                              Medical Center
                                          3
                                              1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):
                                          4
                                            Anthony R. Bisconti on behalf of Interested Party Official Committee of Unsecured
                                          5 Creditors - tbisconti@bmkattorneys.com, admin@bmkattorneys.com

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                                            kblock@loeb.com, plavine@loeb.com
                                          7
                                            Bruce M Bunch - pam@bunchlawyers.com
                                          8 Louis J Cisz, III on behalf of Creditor Cerritos Gardens General Hospital Company

                                          9 lcisz@nixonpeabody.com, sf.managing.clerk@nixonpeabody.com
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                                         17 Rhonda S. Goldstein on behalf of Creditor The Regents of the University of California
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                                         21 cemail@ebglaw.com, djacobs@ebglaw.com

                                         22 Ivan L Kallick on behalf of Interested Party KND Development 53, LLC
                                            ikallick@manatt.com, ihernandez@manatt.com
                                         23
                                            Eve H Karasik on behalf of Interested Party Courtesy NEF
                                         24 ehk@lnbyb.com
                                            Steven J. Katzman on behalf of Interested Party Official Committee Unsecured Creditors
                                         25
                                            skatzman@bmkattorneys.com; admin@bmkattorneys.com
                                         26 Michael D Kibler -- Mkibler@stblaw.com, Queenie.Wong@stblaw.com;
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                                         27
                                            Gary E Klausner on behalf of Creditor Roxbury Healthcare Services, LLC,
                                         28 gek@lnbyb.com
                                                                                          -1-
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                                         1   SERVICE LIST (cont’d)
                                             In re: Gardens Regional Hospital and Medical Center, Inc. dba Gardens Regional Hospital and
                                         2   Medical Center

                                         3 Gary E Klausner on behalf of Creditor Sycamore Health Care Services, LLC
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                                         7 Dare Law on behalf of U.S. Trustee United States Trustee (LA)

                                         8 dare.law@usdoj.gov, ron.maroko@usdoj.gov
                                           Elan S. Levey on behalf of Creditor U.S. Department of Health and Human Services
                                         9 elan.levey@usdoj.gov; louisa.lin@usdoj.gov
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                                        10 Wendy A Loo on behalf of Interested Party People of the State of CA
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                                           wendy.loo@lacity.org
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                                           Stephen A Madoni on behalf of Creditor Spine Surgical Implants, Inc.
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                                           Reed M Mercado - rmercado@sheppardmullin.com
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                                           David M Reeder on behalf of Creditor RollinsNelson Grp, LLC
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                                        25 J. Alexandra Rhim on behalf of Respondent De Lage Landen Financial Services, Inc.
                                           arhim@hemar-rousso.com
                                        26 Mary H Rose on behalf of Creditor Promise Gardens Lending Company, Inc. and

                                        27 Promise Hospital of East Los Angeles, L.P.
                                           mrose@buchalter.com, mrose@buchalter.com
                                        28
                                                                                         -2-
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                                         1   SERVICE LIST (cont’d)
                                             In re: Gardens Regional Hospital and Medical Center, Inc. dba Gardens Regional Hospital and
                                         2   Medical Center

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                                         5 Leonard M Shulman on behalf of Interested Party Strategic Global Management, Inc.

                                         6 lshulman@shbllp.com
                                           Gerald N Sims on behalf of Creditor BETA Risk Management Authority
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                                         8 Alan Stomel on behalf of Interested Party Courtesy NEF
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                                           United States Trustee (LA)
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                                        16
                                           Johnny White JWhite@wrslawyers.com, aparisi@wrslawyers.com
                                        17 Hatty K Yip on behalf of U.S. Trustee United States Trustee (LA)

                                        18 hatty.yip@usdoj.gov
                                           Matthew Zandi on behalf of Creditor Kaufman Borgeest & Ryan, LLP
                                        19 mzandi@kbrlaw.com

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                                         1   SERVICE LIST (cont’d)
                                             In re: Gardens Regional Hospital and Medical Center, Inc. dba Gardens Regional Hospital and
                                         2   Medical Center

                                         3 2 TO BE SERVED BY U.S. MAIL:

                                         4   Regulatory Agencies
                                         5   United States Attorney’s Office             U.S. Department of Justice
                                             Central District of California              Office of the Attorney General of the United
                                         6   312 North Spring Street, Suite 1200         States
                                             Los Angeles, CA 90012                       950 Pennsylvania Avenue, NW
                                         7   Office: (213) 894-2400                      Washington, DC 20530-0001
                                             Fax: (213) 894-0141                         Office (202) 514-2000
                                         8                                               Fax: (202) 307-6777
                                         9   Wendi A. Horwitz                            Internal Revenue Service
                                             Deputy Attorney General                     300 North Los Angeles Street
601 SOUTH FIGUEROA STREET. 25TH FLOOR




                                        10   Dept. of Justice                            Los Angeles, CA 90012
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                                             Office of the Attorney General              Office: (213) 576-3009
                                        11   300 South Spring Street, Suite 1702
                                             Los Angeles, CA 90013
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                                             Office: (213) 897-2178
                                             Email: wendi.horwitz@doj.ca.gov
                                        13
                                             State of California                         Sylvia Mathews Burwell, Secretary
                                        14   Franchise Tax Board                         U.S. Department of Health & Human Services
                                             300 South Spring Street, #5704              200 Independence Avenue, S.W.
                                        15   Los Angeles, CA 90013                       Washington, D.C. 20201
                                             Office: (916) 845-6500                      Office: (202) 690-6610
                                        16   Fax: None                                   Fax: (202) 690-7203
                                        17   Employment Development Dept.                Jennifer Kent, Director
                                             722 Capitol Mall                            California Department of Health Care Services
                                        18   Sacramento, CA 95814                        1501 Capitol Avenue, Suite 4510
                                             Office: (866) 333-4606                      Sacramento, CA 95814
                                        19                                               Office: (916) 464-4430
                                                                                         Fax: None
                                        20
                                             Internal Revenue Service                    Angela M. Belgrove
                                        21   600 Arch Street                             Assistant Regional Counsel
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                                        22   Office: (267) 941-6800                      Human Services
                                                                                         Office of the General Counsel, Region IX
                                        23                                               90 7th Street, Suite 4-500
                                                                                         San Francisco, CA 94103-6705
                                        24                                               Office: (415) 437-8156
                                                                                         Fax: (415) 437-8188
                                        25   Office of the Attorney General
                                             Consumer Law Section
                                        26   Attn: Bankruptcy Notices
                                             455 Golden Gate Ave., Suite 11000
                                        27   San Francisco, CA 94102
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                                                                                         -4-
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                                         1   SERVICE LIST (cont’d)
                                             In re: Gardens Regional Hospital and Medical Center, Inc. dba Gardens Regional Hospital and
                                         2   Medical Center

                                         3 Request for Special Notice

                                         4 Eric Weissmanm [e-mail only]                      Rose E. Bareham
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                                        13
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                                        16   Cerritos Gardens General Hospital Company       Mr. Oren Ben Ezra
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                                        17   Hawaiian Gardens, CA 90716                      Hallandale Beach, FL 33009
                                             Attn: Pioneer Carson Corp., General Partner
                                        18          Attn: Cherna Moskowitz, President

                                        19   James Hamada, M.D.                              Amable Aguiliuz, M.D.
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                                        21   Rebecca J. Price                                Constance R. Doyle
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                                        23

                                        24   Jeffrey Golden (NEF)                            Andrew H. Sherman (NEF)
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                                        28
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                                         1    SERVICE LIST (cont’d)
                                              In re: Gardens Regional Hospital and Medical Center, Inc. dba Gardens Regional Hospital and
                                         2    Medical Center

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